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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

AARON MANUEL MORA, No. CV 17-7143-MCS (AGR)

Petitioner,
ORDER ACCEPTING FINDINGS AND
V. RECOMMENDATION OF UNITED
STATES MAGISTRATE JUDGE
JEFF LYNCH, Acting Warden,

Respondent.

 

Pursuant to 28 U.S.C. § 636, the Court has reviewed the entire file de novo,
including the magistrate judge’s Report and Recommendation. No objections to the
Report have been filed.'_ The Court accepts the findings and recommendation of the
Magistrate Judge.

IT |S ORDERED that Judgment be entered denying the Petition for Writ of
Habeas Corpus and dismissing this action with prejudice.

DATED: October 6, 2021 bak L Sears
MARK . AR |
United States District Judge

 

 

' The magistrate judge granted five extensions of time to file objections to the
Report. To date, Petitioner has not filed objections or requested another
extension of time to do so. Any such request would now be untimely.

 

 
